
The judgment of the Court below was affirmed by the Supreme Court on March 3, 1862, in the following opinion by
Lowrie, C. J.
A part of the road was destroyed by the caving in of the ground caused by the improper working of a coal vein of the defendant below, by their lessee, of the coal right; and the question is, whether the landlord or the tenant is liable for the repairs. Undoubtedly the rule is that the tenant alone is liable ; for usually, he alone can be chargeable with the misfeasance that causes it: Starr vs. Offerman, 2 Barr, 394. But in this case it is perfecty clear, that all the mining, especially with relation to the pillars to support the surface, was planned and directed by the agents of the defendant below, the landlord; and therefore the general rule just stated does not apply to this case. Under such circumstances the landlord is clearly liable. It was entirely unnecessary for the court to say that the landlord was liable whether he gave the directions or not; for the fact that they were-given is very clear on the evidence; and therefore we are not asked to affirm so broad a principle.
•Judgment affirmed.
